                  Case 18-69795-jwc
 Fill in this information to identify your case:
                                                            Doc 1              Filed 11/27/18 Entered 11/27/18 09:11:16                               Desc Main
                                                                               Document      Page 1 of 60
 United States Bankruptcy Court for the:

                Northern District of Georgia

 Case number (If known):                               Chapter you are filing under:
                                                       ❑        Chapter 7
                                                       ❑        Chapter 11
                                                       ❑        Chapter 12
                                                       ✔
                                                       ❑        Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Richard
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   E
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to         Warren
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 7        8       9   0                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
 Debtor 1
                 Case  18-69795-jwc
                   Richard       E
                                                   Doc 1          Filed
                                                                    Warren
                                                                          11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                  Case number (if known)
                     First Name          Middle Name
                                                                  Document
                                                                    Last Name
                                                                                  Page 2 of 60


                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          345 Baskin Drive SW
                                          Number             Street                                           Number            Street




                                          Marietta, GA 30064
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Cobb
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1
                Case  18-69795-jwc
                  Richard       E
                                                 Doc 1        Filed
                                                                Warren
                                                                      11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                              Case number (if known)
                    First Name           Middle Name
                                                              Document
                                                                Last Name
                                                                              Page 3 of 60

 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
                                         ❑
       Code you are choosing to file
       under                                   Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ✔
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1
                 Case  18-69795-jwc
                   Richard       E
                                                      Doc 1         Filed
                                                                      Warren
                                                                            11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                    Case number (if known)
                      First Name              Middle Name
                                                                    Document
                                                                      Last Name
                                                                                    Page 4 of 60

 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑   Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1
                Case  18-69795-jwc
                  Richard       E
                                                   Doc 1          Filed
                                                                    Warren
                                                                          11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                  Case number (if known)
                     First Name            Middle Name
                                                                  Document
                                                                    Last Name
                                                                                  Page 5 of 60

 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1
                Case  18-69795-jwc
                  Richard       E
                                                     Doc 1        Filed
                                                                    Warren
                                                                          11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                  Case number (if known)
                     First Name             Middle Name
                                                                  Document
                                                                    Last Name
                                                                                  Page 6 of 60

 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ✔
                                            ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Richard E Warren
                                         Richard E Warren, Debtor 1
                                         Executed on 11/27/2018
                                                         MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1
                Case  18-69795-jwc
                  Richard       E
                                                   Doc 1        Filed
                                                                  Warren
                                                                        11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                Case number (if known)
                     First Name             Middle Name
                                                                Document
                                                                  Last Name
                                                                                Page 7 of 60


   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Alexander Gray Hait                                               Date 11/27/2018
                                                 Alexander Gray Hait, Attorney                                               MM / DD / YYYY




                                                 Alexander Gray Hait
                                                 Printed name

                                                 Hait & Kuhn
                                                 Firm name

                                                 185 Stockwood Dr
                                                 Number      Street



                                                  Woodstock                                                          GA       30188
                                                 City                                                                State    ZIP Code



                                                 Contact phone (770) 517-0045                                     Email address legaljacket@mac.com


                                                 316359                                                              GA
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                      Case 18-69795-jwc                              Doc 1            Filed 11/27/18 Entered 11/27/18 09:11:16                                                     Desc Main
 Fill in this information to identify your case and this filing:
                                                                                      Document      Page 8 of 60
  Debtor 1                          Richard                      E                          Warren
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Northern District of Georgia
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     345 Baskin Drive SW                                             What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Marietta, GA 30064                                            ❑ Land                                                                                  $230,000.00                    $230,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Cobb
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Homestead
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $230,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1
                     Case  18-69795-jwc
                       Richard       E
                                                                     Doc 1             Filed
                                                                                         Warren
                                                                                               11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                       Case number (if known)
                            First Name                    Middle Name
                                                                                       Document
                                                                                         Last Name
                                                                                                       Page 9 of 60


 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Toyota                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Prius                     ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2007                      ❑ Debtor 1 and Debtor 2 only
            Year:
                                                                             ✔ At least one of the debtors and another
                                                                             ❑
                                                                                                                                                           Current value of the
                                                                                                                                                           entire property?
                                                                                                                                                                                       Current value of the
                                                                                                                                                                                       portion you own?
            Approximate mileage:                                                                                                                                         $4,000.00                  $2,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Toyota                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Venza
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2017                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $8,000.00                  $8,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $10,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Misc Household Goods & Furnishings
                                                                                                                                                                                                      $1,000.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1
                      Case  18-69795-jwc
                        Richard       E
                                                                       Doc 1             Filed
                                                                                           Warren
                                                                                                 11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                         Case number (if known)
                            First Name                      Middle Name
                                                                                        Document
                                                                                           Last Name
                                                                                                        Page 10 of 60


 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 MIsc Household Electronics                                                                                                             $100.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 MIsc Men's Clothing                                                                                                                    $100.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Wedding Rings
                                                                                                                                                                                        $150.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Rabbits                                                                                                                                   $1.50



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜   $1,351.50




Official Form 106A/B                                                                                        Schedule A/B: Property                                                    page 3
 Debtor 1
                      Case  18-69795-jwc
                        Richard       E
                                                                              Doc 1               Filed
                                                                                                    Warren
                                                                                                          11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                                  Case number (if known)
                              First Name                         Middle Name
                                                                                                 Document
                                                                                                    Last Name
                                                                                                                 Page 11 of 60


 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                United Community Bank                                                                                                               $1,050.00


 17.2. Checking account:


 17.3. Savings account:                                 Associated Credit Union                                                                                                             $3,600.00


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                      page 4
 Debtor 1
                    Case  18-69795-jwc
                      Richard       E
                                                        Doc 1        Filed
                                                                       Warren
                                                                             11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                     Case number (if known)
                          First Name            Middle Name
                                                                    Document
                                                                       Last Name
                                                                                    Page 12 of 60

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                               Schedule A/B: Property                                               page 5
 Debtor 1
                 Case  18-69795-jwc
                   Richard       E
                                                         Doc 1       Filed
                                                                       Warren
                                                                             11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                     Case number (if known)
                       First Name               Middle Name
                                                                    Document
                                                                       Last Name
                                                                                    Page 13 of 60

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑         Name the insurance company
                                                           Company name:                                           Beneficiary:                        Surrender or refund value:
                 of each policy and list its value....
                                                           Jackson National Life                                   Cynthia Warren                                     $125,000.00
                                                                                                                   Cynthia Warren and/or
                                                           Long Term Preferred Care, Inc.                          Richard Warren                                       unknown


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                             page 6
 Debtor 1
                     Case  18-69795-jwc
                       Richard       E
                                                                      Doc 1             Filed
                                                                                          Warren
                                                                                                11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                        Case number (if known)
                           First Name                      Middle Name
                                                                                       Document
                                                                                          Last Name
                                                                                                       Page 14 of 60


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜             $129,650.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                               Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                         page 7
 Debtor 1
                     Case  18-69795-jwc
                       Richard       E
                                                                      Doc 1             Filed
                                                                                          Warren
                                                                                                11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                        Case number (if known)
                           First Name                      Middle Name
                                                                                       Document
                                                                                          Last Name
                                                                                                       Page 15 of 60

 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                              claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                        page 8
 Debtor 1
                     Case  18-69795-jwc
                       Richard       E
                                                                         Doc 1              Filed
                                                                                              Warren
                                                                                                    11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                                            Case number (if known)
                            First Name                       Middle Name
                                                                                           Document
                                                                                              Last Name
                                                                                                           Page 16 of 60


 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                      $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                       $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜          $230,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $10,000.00


 57.   Part 3: Total personal and household items, line 15                                                                     $1,351.50


 58.   Part 4: Total financial assets, line 36                                                                             $129,650.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                      $141,001.50              Copy personal property total➜     +   $141,001.50




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                         $371,001.50




Official Form 106A/B                                                                                            Schedule A/B: Property                                                         page 9
                  Case 18-69795-jwc                    Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                              Desc Main
                                                                  Document      Page 17 of 60
 Fill in this information to identify your case:

  Debtor 1                    Richard              E                    Warren
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 345 Baskin Drive SW Marietta, GA 30064                                  $230,000.00
                                                                                         ❑                 $21,500.00             Ga. Code Ann. § 44-13-100(a)(1)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2007 Toyota Prius                                                          $2,000.00
                                                                                         ❑                 $2,000.00              Ga. Code Ann. § 44-13-100(a)(3)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
 Debtor 1             Richard            E                Warren                                          Case number (if known)
                 Case
                   First 18-69795-jwc
                         Name              Doc 1
                                   Middle Name        Filed   11/27/18 Entered 11/27/18 09:11:16
                                                        Last Name                                                            Desc Main
                                                     Document        Page 18 of 60
 Part 2: Additional Page

 Brief description of the property and line on   Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property           portion you own
                                                 Copy the value from       Check only one box for each exemption.
                                                 Schedule A/B

                                                                           ✔
 Brief description:
 2017 Toyota Venza                                            $8,000.00
                                                                           ❑                $3,000.00                 Ga. Code Ann. § 44-13-100(a)(3)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:        3.2


                                                                           ✔
 Brief description:
 Misc Household Goods & Furnishings                           $1,000.00
                                                                           ❑                 $300.00                  Ga. Code Ann. § 44-13-100(a)(4)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:         6


                                                                           ✔
 Brief description:
 MIsc Household Electronics                                     $100.00
                                                                           ❑                 $100.00                  Ga. Code Ann. § 44-13-100(a)(6)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:         7


                                                                           ✔
 Brief description:
 MIsc Men's Clothing                                            $100.00
                                                                           ❑                 $100.00                  Ga. Code Ann. § 44-13-100(a)(4)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:        11


                                                                           ✔
 Brief description:
 Wedding Rings                                                  $150.00
                                                                           ❑                 $150.00                  Ga. Code Ann. § 44-13-100(a)(5)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:        12


                                                                           ✔
 Brief description:
 Rabbits                                                           $1.50
                                                                           ❑                  $1.50                   Ga. Code Ann. § 44-13-100(a)(4)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:        13


                                                                           ✔
 Brief description:
 United Community Bank                                        $1,050.00
                                                                           ❑                $1,050.00                 Ga. Code Ann. § 44-13-100(a)(6)

 Checking account                                                          ❑   100% of fair market value, up to
                                                                               any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                           ✔
 Brief description:
 Associated Credit Union                                      $3,600.00
                                                                           ❑                $3,600.00                 Ga. Code Ann. § 44-13-100(a)(6)

 Savings account                                                           ❑   100% of fair market value, up to
                                                                               any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                           ✔
 Brief description:
 Jackson National Life                                      $125,000.00
                                                                           ❑              $125,000.00                 Ga. Code Ann. § 44-13-100(a)(8)
                                                                           ❑   100% of fair market value, up to
 Line from                                                                     any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                   page 2 of 3
 Debtor 1             Richard            E                Warren                                         Case number (if known)
                 Case
                   First 18-69795-jwc
                         Name              Doc 1
                                   Middle Name        Filed   11/27/18 Entered 11/27/18 09:11:16
                                                        Last Name                                                           Desc Main
                                                     Document        Page 19 of 60
 Part 2: Additional Page

 Brief description of the property and line on   Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property           portion you own
                                                 Copy the value from      Check only one box for each exemption.
                                                 Schedule A/B

                                                                          ✔
 Brief description:
 Long Term Preferred Care, Inc.                                 unknown
                                                                          ❑                unknown                   Ga. Code Ann. § 44-13-100(a)(6)
                                                                          ❑   100% of fair market value, up to
 Line from                                                                    any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                                  page 3 of 3
                  Case 18-69795-jwc                      Doc 1      Filed 11/27/18 Entered 11/27/18 09:11:16                                  Desc Main
 Fill in this information to identify your case:
                                                                   Document      Page 20 of 60
  Debtor 1                       Richard            E                    Warren
                                 First Name         Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name         Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Georgia

  Case number                                                                                                                                ❑   Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B             Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of             Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that      portion
                                                                                                                      value of collateral.    supports this        If any
                                                                                                                                              claim
2.1 BB&T                                                  Describe the property that secures the claim:                           $3,143.00           $8,000.00            $0.00
     Creditor's Name
                                                           2017 Toyota Venza
      Po Box 1847
     Number             Street
      Wilson, NC 27894                                    As of the date you file, the claim is: Check all that apply.
     City                             State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                        ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                    ❑Disputed
     ❑Debtor 2 only                                       Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                          ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another                secured car loan)
     ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                          ❑Judgment lien from a lawsuit
     Date debt was incurred                               ❑Other (including a right to offset)
     02/01/2013
                                                          Last 4 digits of account number 1         0    0    1

      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $3,143.00




Official Form 106D                                        Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
 Debtor 1
                    Case  18-69795-jwc
                      Richard       E
                                                       Doc 1      Filed
                                                                    Warren
                                                                          11/27/18 Entered 11/27/18  09:11:16 Desc Main
                                                                                                  Case number (if known)
                       First Name            Middle Name
                                                                 Document
                                                                    Last Name
                                                                                 Page 21 of 60

                                                                                                                       Column A                Column B              Column C
                Additional Page                                                                                        Amount of claim         Value of              Unsecured
  Part 1:
                After listing any entries on this page, number them beginning                                          Do not deduct the       collateral that       portion
                with 2.3, followed by 2.4, and so forth.                                                               value of collateral.    supports this         If any
                                                                                                                                               claim


 2.2 Mr. Cooper                                         Describe the property that secures the claim:                            $130,419.00          $230,000.00
     Creditor's Name
                                                         345 Baskin Drive SW Marietta, GA 30064
     8950 Cypress Waters Blvd
     Number           Street
     Coppell, TX 75019                                  As of the date you file, the claim is: Check all that apply.
     City                           State   ZIP Code    ❑Contigent
     Who owes the debt? Check one.                      ❑Unlquidated
     ✔ Debtor 1 only
     ❑                                                  ❑Disputed
     ❑Debtor 2 only                                     Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                        ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another              secured car loan)
     ❑Check if this claim relates to a                  ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                        ❑Judgment lien from a lawsuit
     Date debt was incurred                             ❑Other (including a right to offset)
     11/01/2015
                                                        Last 4 digits of account number 0         7    2    0


            $0.00




      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $130,419.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                    $133,562.00
      here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
                  Case 18-69795-jwc                    Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                                    Desc Main
 Fill in this information to identify your case:
                                                                  Document      Page 22 of 60
  Debtor 1                   Richard               E                   Warren
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

2.1      Georgia Department of Revenue                                                                                              unknown         unknown         unknown
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Compliance Division
         ARCS - Bankruptcy                                          As of the date you file, the claim is: Check all that
                                                                    apply.
         1800 Century Blvd Ne # 9100                                ❑ Contingent
        Number           Street
                                                                    ❑ Unliquidated
         Atlanta, GA 30345-3202
        City                               State   ZIP Code
                                                                    ❑ Disputed
                                                                    Type of PRIORITY unsecured claim:
                                                                    ❑ Domestic support obligations
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                                           ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 2 only                                                 government
        ❑ Debtor 1 and Debtor 2 only                                ❑ Claims for death or personal injury while you were
        ❑ At least one of the debtors and another                       intoxicated
        ❑ Check if this claim is for a community debt               ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
        Remarks: NOTICE ONLY




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 9
 Debtor 1
                    Case  18-69795-jwc
                      Richard       E
                                                        Doc 1    Filed
                                                                   Warren
                                                                         11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                 Case number (if known)
                       First Name             Middle Name
                                                                Document
                                                                   Last Name
                                                                                Page 23 of 60


 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                   Total   Priority        Nonpriority
                                                                                                                           claim   amount          amount

2.2     Internal Revenue Service                                                                                             unknown     unknown        unknown
                                                                  Last 4 digits of account number
       Priority Creditor's Name
                                                                   When was the debt incurred?
        Centralized Insolvency Operation
                                                                  As of the date you file, the claim is: Check all that
        Po Box 7346                                               apply.
                                                                  ❑
       Number           Street
                                                                      Contingent
        Philadelphia, PA 19101-7346
       City                              State     ZIP Code       ❑   Unliquidated
       Who incurred the debt? Check one.                          ❑   Disputed
       ✔
       ❑      Debtor 1 only                                       Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only                                       ❑   Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only
                                                                  ✔
                                                                  ❑   Taxes and certain other debts you owe the
       ❑
                                                                      government
                                                                  ❑
              At least one of the debtors and another
       ❑
                                                                      Claims for death or personal injury while you were
              Check if this claim is for a community debt             intoxicated
       Is the claim subject to offset?                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
        Remarks: NOTICE ONLY




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 9
 Debtor 1
                   Case  18-69795-jwc
                     Richard       E
                                                       Doc 1         Filed
                                                                       Warren
                                                                             11/27/18 Entered 11/27/18 09:11:16 Desc Main
                                                                                                     Case number (if known)
                       First Name              Middle Name
                                                                    Document
                                                                       Last Name
                                                                                    Page 24 of 60
 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Associated Credit Union                                                   Last 4 digits of account number 0001                                                       $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          01/14/2010
        6789 Peachtree                                                            As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Atlanta, GA 30360
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CheckCreditOrLineOfCredit

        ❑ Yes
4.2     Bank of America                                                           Last 4 digits of account number 0434                                                       $0.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/01/1986
        4909 Savarese Circle                                                      As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Tampa, FL 33634
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CheckCreditOrLineOfCredit

        ❑ Yes
4.3     BB&T                                                                      Last 4 digits of account number 7725                                                $1,978.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          10/01/2016
        Credit Card Disputes                                                      As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
          Wilson, NC 27894
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 3 of 9
                    Case 18-69795-jwc                   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard               E                  Document
                                                                   Warren     Page 25 of 60    Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.4     BB&T                                                                Last 4 digits of account number 3374                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          03/01/2014
        Credit Card Disputes
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilson, NC 27894
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.5     Chase Card Services                                                 Last 4 digits of account number 3056                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/1964
        Po Box 15298
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.6     Comenity Bank/Blair                                                 Last 4 digits of account number 3342                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          04/01/2005
        Po Box 182120
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Columbus, OH 43218
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 9
                    Case 18-69795-jwc                   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard               E                  Document
                                                                   Warren     Page 26 of 60    Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.7     Medical Data Systems (MDS)                                          Last 4 digits of account number 7076                                         $216.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          04/01/2018
        128 W Center Ave Fl 2
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sebring, FL 33870
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CollectionAttorney

       ❑      Yes
4.8     Metro Atlanta Ambulance                                                                                                                      unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 4130
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Marietta, GA 30065                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes
4.9     N Georgia Kidney Specialists                                                                                                                 unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        880 Canton Road #400
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Marietta, GA 30060                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 9
                    Case 18-69795-jwc                   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard               E                  Document
                                                                   Warren     Page 27 of 60    Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.10    Srvfinco                                                            Last 4 digits of account number 1258                                     $5,513.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/2018
        555 S Federal Hwy Ste 20
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Boca Raton, FL 33432
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                HomeImprovement

       ❑      Yes
4.11    Synchrony Bank/Chevron                                              Last 4 digits of account number 5814                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          05/07/1991
        P.o Box 965015
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.12    Synchrony Bank/Lowes                                                Last 4 digits of account number 4525                                     $2,725.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          06/01/2013
        Po Box 956005
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 9
                    Case 18-69795-jwc                   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard               E                  Document
                                                                   Warren     Page 28 of 60    Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.13    US Renal Care                                                       Last 4 digits of account number 8196                                     unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        505 Roswell Street #100
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Marietta, GA 30060                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.14    Vascular Surgical Associates                                                                                                                 unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        61 Whitcher Street Suite 2100
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Marietta, GA 30060                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes
4.15    Visa Dept Store National Bank/Macy's                                Last 4 digits of account number 4340                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/1985
        Po Box 8218
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mason, OH 45040
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                divorce that you did not report as priority claims
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 9
                    Case 18-69795-jwc                   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard               E                  Document
                                                                   Warren     Page 29 of 60    Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.16    WellStar Health System                                              Last 4 digits of account number 6731                                     unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 742625
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30374                                                   ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 9
                Case 18-69795-jwc                    Doc 1      Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1              Richard              E                  Document
                                                                  Warren     Page 30 of 60    Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $10,432.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $10,432.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 9
                     Case 18-69795-jwc                   Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                                     Desc Main
 Fill in this information to identify your case:
                                                                    Document      Page 31 of 60
     Debtor 1                   Richard              E                   Warren
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Georgia

     Case number                                                                                                                             ❑     Check if this is an
     (if known)                                                                                                                                    amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                     page 1 of 1
                      Case 18-69795-jwc                       Doc 1        Filed 11/27/18 Entered 11/27/18 09:11:16                               Desc Main
 Fill in this information to identify your case:
                                                                          Document      Page 32 of 60
  Debtor 1                        Richard                 E                  Warren
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Northern District of Georgia

  Case number                                                                                                                               ❑      Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                              page 1 of 1
                  Case 18-69795-jwc                    Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                                   Desc Main
 Fill in this information to identify your case:
                                                                  Document      Page 33 of 60
  Debtor 1                   Richard               E                   Warren
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Georgia                                    ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                           Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status                     ✔ Not Employed
                                                                           ❑Employed ❑                                         ❑Employed ❑Not Employed
     attach a separate page with
     information about additional
     employers.
                                               Occupation
     Include part time, seasonal, or
     self-employed work.                       Employer's name

     Occupation may include student                                         Number Street                                      Number Street
                                               Employer's address
     or homemaker, if it applies.




                                                                            City                     State   Zip Code          City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                        $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                   page 1
                     Case 18-69795-jwc                                  Doc 1             Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1                   Richard                        E                                Warren                      Case number (if known)
                            First Name                      Middle Name
                                                                                         Document
                                                                                            Last Name
                                                                                                       Page 34 of 60

                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $2,672.20                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $2,672.20                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,672.20   +                $0.00        =       $2,672.20

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $2,672.20
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                  Case 18-69795-jwc                       Doc 1         Filed 11/27/18 Entered 11/27/18 09:11:16                              Desc Main
 Fill in this information to identify your case:
                                                                       Document      Page 35 of 60
  Debtor 1                   Richard                  E                      Warren
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                            Northern District of Georgia

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                          ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
                                                                                                                                                  ❑No
                                                                                                                                                  ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                      $1,237.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1
                    Case  18-69795-jwc
                      Richard       E
                                                      Doc 1         Filed
                                                                      Warren
                                                                            11/27/18 Entered 11/27/18  09:11:16 Desc Main
                                                                                                    Case number (if known)
                       First Name             Middle Name
                                                                   Document
                                                                      Last Name
                                                                                   Page 36 of 60

                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                    $222.00

       6b. Water, sewer, garbage collection                                                                  6b.                     $20.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                     $99.20

       6d. Other. Specify:                                                                                   6d.                      $0.00

 7.    Food and housekeeping supplies                                                                        7.                     $350.00

 8.    Childcare and children’s education costs                                                              8.                       $0.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                       $0.00

 10. Personal care products and services                                                                     10.                      $0.00

 11.   Medical and dental expenses                                                                           11.                    $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $150.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                      $0.00

 14. Charitable contributions and religious donations                                                        14.                      $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                    $73.00
       15a. Life insurance
                                                                                                             15b.                     $0.00
       15b. Health insurance
                                                                                                             15c.                    $71.00
       15c. Vehicle insurance
                                                                                                             15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                              16.                      $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.

       17b. Car payments for Vehicle 2                                                                       17b.

       17c. Other. Specify:                                                                                  17c.

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1
                Case  18-69795-jwc
                  Richard       E
                                                     Doc 1       Filed
                                                                   Warren
                                                                         11/27/18 Entered 11/27/18  09:11:16 Desc Main
                                                                                                 Case number (if known)
                       First Name           Middle Name
                                                                Document
                                                                   Last Name
                                                                                Page 37 of 60


 21. Other. Specify:                                                                                        21.    +       $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.       $2,322.20

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.           $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $2,322.20


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,672.20

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –   $2,322.20

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.        $350.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                           page 3
                     Case 18-69795-jwc                               Doc 1             Filed 11/27/18 Entered 11/27/18 09:11:16                                                        Desc Main
 Fill in this information to identify your case:
                                                                                      Document      Page 38 of 60
  Debtor 1                         Richard                       E                           Warren
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Northern District of Georgia

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $230,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                            $141,001.50


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $371,001.50



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $133,562.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $10,432.00


                                                                                                                                                                  Your total liabilities                    $143,994.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $2,672.20


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $2,322.20




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                 Case 18-69795-jwc                   Doc 1         Filed 11/27/18 Entered 11/27/18 09:11:16 Desc Main
 Debtor 1             Richard                E                    Document
                                                                     Warren     Page 39 of 60    Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                           $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
                  Case 18-69795-jwc                    Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                               Desc Main
 Fill in this information to identify your case:
                                                                  Document      Page 40 of 60
  Debtor 1                   Richard               E                   Warren
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Richard E Warren
        Richard E Warren, Debtor 1, Debtor 1                             ✘
        Date 11/27/2018                                                      Date
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 18-69795-jwc                     Doc 1       Filed 11/27/18 Entered 11/27/18 09:11:16                            Desc Main
                                                                   Document      Page 41 of 60
 Fill in this information to identify your case:

  Debtor 1                   Richard               E                    Warren
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Georgia

  Case number                                                                                                                           ❑   Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                                Dates Debtor 1 lived      Debtor 2:                                            Dates Debtor 2 lived
                                                               there                                                                          there


                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




                                                                                       ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                             From                                                                           From
    Number      Street                                                                     Number     Street
                                                             To                                                                             To



    City                               State ZIP Code                                      City                        State ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
Debtor 1            Richard              E                        Warren                                              Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                                 Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                 Last Name
                                                                                                                                             Desc Main
                                                                Document       Page 42 of 60

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $4,150.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $48,935.00            bonuses, tips
    (January 1 to December 31, 2017          )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $48,646.00            bonuses, tips
    (January 1 to December 31, 2016          )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Social Security                           $22,995.50       Social Security                             $9,651.40
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
Debtor 1            Richard              E                         Warren                                                Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                                   Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                   Last Name
                                                                                                                                              Desc Main
                                                                  Document       Page 43 of 60
    For last calendar year:                           Social Security                           $24,353.00       Social Security                           $10,216.00
    (January 1 to December 31, 2017          )
                                     YYYY



    For the calendar year before that:                Social Security                           $24,075.60       Social Security                           $10,111.20
    (January 1 to December 31, 2016          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
              ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                              Dates of            Total amount paid            Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                         ✔ Mortgage
                                                                                                                                         ❑
             Mr. Cooper                                      09/01/2018                        $3,711.00                  $130,419.00
             Creditor's Name                                                                                                             ❑Car
             8950 Cypress Waters Blvd.                       10/01/2018                                                                  ❑Credit card
             Number      Street
                                                                                                                                         ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
                                                             11/01/2018
             Coppell, TX 75019
                                                                                                                                         ❑Other
             City                   State        ZIP Code



                                                                                                                                         ❑Mortgage
             BB&T
             Creditor's Name
                                                             09/01/2018                        $1,185.00                     $3,143.00
                                                                                                                                         ✔ Car
                                                                                                                                         ❑
                                                             10/01/2018                                                                  ❑Credit card
             Number      Street                                                                                                          ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
                                                             11/01/2018

             City                   State        ZIP Code                                                                                ❑Other




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
Debtor 1            Richard               E                          Warren                                             Case number (if known)
                 Case     18-69795-jwc
                  First Name
                                            Doc 1
                                  Middle Name
                                                                   Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                   Last Name
                                                                                                                                                Desc Main
                                                                  Document       Page 44 of 60

  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                          Dates of             Total amount paid       Amount you still owe      Reason for this payment
                                                          payment



    Insider's Name


    Number      Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of             Total amount paid       Amount you still owe      Reason for this payment
                                                          payment                                                                Include creditor’s name



    Insider's Name


    Number      Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
Debtor 1            Richard                E                       Warren                                          Case number (if known)
                 Case     18-69795-jwc
                  First Name
                                            Doc 1
                                  Middle Name
                                                                   Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                   Last Name
                                                                                                                                               Desc Main
                                                                  Document       Page 45 of 60
                                                      Nature of the case                      Court or agency                                   Status of the case

    Case title                                                                                                                                 ❑Pending
                                                                                             Court Name                                        ❑On appeal
                                                                                                                                               ❑Concluded
                                                                                             Number       Street
    Case number

                                                                                             City                     State         ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                    Date                Value of the property



    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                       Date action was         Amount
                                                                                                                        taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 5
Debtor 1             Richard               E                       Warren                                          Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                                  Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                  Last Name
                                                                                                                                        Desc Main
 Part 5: List Certain Gifts and Contributions
                                                                 Document       Page 46 of 60

  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave       Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                   Date you              Value
     total more than $600                                                                                         contributed



    Charity’s Name




    Number      Street



    City                   State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
Debtor 1            Richard            E                         Warren                                         Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                                Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                Last Name
                                                                                                                                     Desc Main
                                                               Document       Page 47 of 60
     Describe the property you lost and       Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                    Include the amount that insurance has paid. List pending
                                              insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred              Date payment or      Amount of payment
     Alexander Gray Hait                                                                                       transfer was made
    Person Who Was Paid                        Attorney's Fees & Filing Fees
                                                                                                              11/08/2018                          $699.00
     185 Stockwood Drive
    Number     Street




    Woodstock, GA 30188
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                                Description and value of any property transferred              Date payment or      Amount of payment
     CC Advising, Inc.                                                                                         transfer was made
    Person Who Was Paid                        Credit Counseling Course
                                                                                                              11/04/2018                            $9.76
     703 Washington Ave
    Number     Street




     Bay City, MI 48708
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
Debtor 1            Richard             E                       Warren                                            Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                               Filed  11/27/18 Entered 11/27/18 09:11:16
                                                               Last Name
                                                                                                                                        Desc Main
                                                              Document       Page 48 of 60
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                  State    ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                  State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
Debtor 1            Richard              E                     Warren                                            Case number (if known)
                 Case     18-69795-jwc
                  First Name
                                            Doc 1
                                  Middle Name
                                                    Filed  11/27/18 Entered 11/27/18 09:11:16
                                                    Last Name
                                                                                                                                        Desc Main
 Part 8:
                                                   Document        Page 49 of 60
            List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was           Last balance
                                                                                         instrument                closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                XXXX–                                    ❑Checking
                                                                                         ❑Savings
    Number      Street
                                                                                         ❑Money market
                                                                                         ❑Brokerage
                                                                                         ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                     Describe the contents                          Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution               Name
                                                                                                                                             ❑Yes

    Number      Street                          Number     Street



                                                City                  State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 9
Debtor 1            Richard               E                         Warren                                               Case number (if known)
                Case     18-69795-jwc
                 First Name
                                           Doc 1
                                 Middle Name
                                                                   Filed  11/27/18 Entered 11/27/18 09:11:16
                                                                   Last Name
                                                                                                                                                 Desc Main
                                                                  Document       Page 50 of 60
                                                    Who else has or had access to it?                 Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ❑No
    Name of Storage Facility                       Name
                                                                                                                                                       ❑Yes

    Number     Street                              Number      Street



                                                   City                   State    ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                            Describe the property                              Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                   State    ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 10
Debtor 1            Richard            E                       Warren                                        Case number (if known)
                   Case     18-69795-jwc
                    First Name
                                              Doc 1
                                    Middle Name
                                                               Filed  11/27/18 Entered 11/27/18 09:11:16
                                                               Last Name
                                                                                                                                  Desc Main
                                                              Document       Page 51 of 60
                                              Governmental unit                       Environmental law, if you know it                 Date of notice


    Name of site                             Governmental unit



    Number       Street                      Number       Street


                                             City                  State   ZIP Code


    City                  State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                              Governmental unit                       Environmental law, if you know it                 Date of notice


    Name of site                             Governmental unit



    Number       Street                      Number       Street


                                             City                  State   ZIP Code


    City                  State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                              Court or agency                         Nature of the case                                Status of the case


    Case title
                                             Court Name
                                                                                                                                        ❑Pending
                                                                                                                                        ❑On appeal
                                                                                                                                        ❑Concluded
                                             Number       Street


    Case number
                                             City                  State   ZIP Code




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 11
Debtor 1             Richard                E                         Warren                                               Case number (if known)
                   Case     18-69795-jwc
                    First Name
                                              Doc 1
                                    Middle Name
                                                     Filed  11/27/18 Entered 11/27/18 09:11:16
                                                     Last Name
                                                                                                                                                Desc Main
 Part 11:
                                                    Document        Page 52 of 60
               Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
Debtor 1        Richard         E                              Warren                        Case number (if known)
              Case    18-69795-jwc
                First Name
                                        Doc 1
                                Middle Name
                                                             Filed   11/27/18 Entered 11/27/18
                                                               Last Name
                                                                                                09:11:16 Desc Main
                                                            Document        Page 53 of 60
Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                     /s/ Richard E Warren                       ✘
       Signature of Richard E Warren, Debtor 1                          Signature of


       Date 11/27/2018                                                  Date




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
          Case 18-69795-jwc                    Doc 1         Filed 11/27/18 Entered 11/27/18 09:11:16                                   Desc Main
                                                            Document      Page 54 of 60
B2030 (Form 2030)(12/15)


                                                 United States Bankruptcy Court
                                                         Northern District of Georgia
In re
Warren, Richard E                                                                                                 Case No.
                                                                                                                  Chapter         13
Debtor(s)

                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $3,860.00
          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                          $699.00
          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         $3,161.00

2.   The source of the compensation to be paid to me was:
          ✔
          ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
          ✔
          ❑    Debtor                               ❑    Other (specify)

4.   ❑ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     associates of my law firm.
     ✔ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     ❑
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.
     The Trustee shall disburse the unpaid amount of the fee, $3,161.00, as allowed under General Order 22-2017, as
     follows: (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor’s
     attorney from the funds available and paid into the office of the Trustee by Debtor or on Debtor’s behalf, up to
     $3,161.00 after the payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The
     remaining balance of the fees shall be paid in a monthly amount specified by the Plan until the fees are paid in full;
     (2) If the case is converted prior to confirmation of the plan, Debtor directs the Trustee to pay fees to Debtor’s attorney
     from the funds available of $2,500.00 (amount not to exceed $2,500.00); (3) If the case is dismissed prior to
     confirmation of the plan, fees for Debtor’s attorney of $2,000.00 as set forth on the 2016(b) disclosure statement
     (amount not to exceed $2,000) are allowed pursuant to General Order 18-2015 and shall be paid by the Trustee from
     the funds available without a fee application. Debtor’s attorney may file a fee application for fees sought over
     $2,500.00 within 10 days of the Order of Dismissal; (4) If the case is converted after confirmation of the plan, Debtor
     directs the Trustee to pay to Debtor’s attorney from the funds available, any allowed fees which are unpaid; and (5) If
     the case is dismissed after confirmation of the plan, Trustee shall pay to Debtor’s attorney from the funds available,
     any allowed fees which are unpaid.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;
         Case 18-69795-jwc           Doc 1     Filed 11/27/18 Entered 11/27/18 09:11:16                  Desc Main
                                              Document      Page 55 of 60
6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Motion to Dismiss;Motion to Suspend/Excuse Default;Motion to Approve Compromise;Application to Employ
     Professional;Motion to Reopen/Vacate Dismissal;Motion for Entry of Discharge;Motion to Vacate/Reconsider
     Dismissal;Motion for Entry of Discharge;Motion to Vacate/Reconsider Order;Modification of Confirmed Plan;Motion to
     Sell/Transfer Property;Motion to Approve Loan/Credit;Motion/Turnover/Damages;Objection to Claim;Motion to
     Reimpose Stay;Motion to Retain;Motion to Vacate Discharge;Objection to Default Motion;Motion for
     Determination;Motion for Sanctions/Contempt;Motion for Relief from Stay ;Trustee/Creditor Motion to Modify;Motion
     to Sever-If Client wishes to retain Attorney to represent Client in any Adversary Proceeding or Appellate Proceeding
     that arises in or is related to this case, Client and Attorney shall execute a separate contract setting forth the fee and
     scope of representation for that proceeding. If the case is dismissed or converted to another chapter, Debtor directs
     Trustee to pay agreed upon fees to Debtor’s attorney up to A) $2,000.00 if the case is dismissed or converted prior to
     confirmation of the plan, or B) the allowed fees upon conversion or dismissal after confirmation of the plan.
                                                       CERTIFICATION
                       I certify that the foregoing is a complete statement of any agreement or
                    arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                    proceeding.

                   11/27/2018                         /s/ Alexander Gray Hait
                   Date                                   Signature of Attorney

                                                      Hait & Kuhn
                                                         Name of law firm
                  Case 18-69795-jwc                     Doc 1      Filed 11/27/18 Entered 11/27/18 Check
                                                                                                   09:11:16          Desc Main
                                                                                                         as directed in lines 17 and 21:
 Fill in this information to identify your case:
                                                                  Document      Page 56 of 60
                                                                                                                            According to the calculations required by this
  Debtor 1                   Richard                E                   Warren                                              Statement:
                             First Name            Middle Name          Last Name
                                                                                                                            ✔1. Disposable income is not determined
                                                                                                                            ❑
  Debtor 2                                                                                                                     under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)        First Name            Middle Name          Last Name                                           ❑2. Disposable income is determined
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                        Northern District of Georgia
                                                                                                                            ✔3. The commitment period is 3 years.
                                                                                                                            ❑
  Case number
  (if known)                                                                                                                ❑4. The commitment period is 5 years.
                                                                                                                            ❑Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married. Fill out both Columns A and B, lines 2-11.
      ❑
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
        case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
        of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
        income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
        you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A               Column B
                                                                                                                 Debtor 1               Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                          $0.00                       $0.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                $0.00                       $0.00


 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and roommates. Do not
    include payments from a spouse. Do not include payments you listed on line 3.                                           $0.00                       $0.00


 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1         Debtor 2
                                                                              $0.00             $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -         $0.00

                                                                              $0.00             $0.00   Copy
      Net monthly income from a business, profession, or farm                                                               $0.00                       $0.00
                                                                                                        here →


 6. Net income from rental and other real property                       Debtor 1         Debtor 2
                                                                              $0.00             $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -         $0.00

                                                                              $0.00             $0.00   Copy
      Net monthly income from rental or other real property                                                                 $0.00                       $0.00
                                                                                                        here →



 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                  page 1
Debtor 1
                     Case  18-69795-jwc
                       Richard       E
                                                                            Doc 1                Filed
                                                                                                   Warren
                                                                                                         11/27/18 Entered 11/27/18  09:11:16 Desc Main
                                                                                                                                 Case number (if known)
                            First Name                          Middle Name
                                                                                                Document
                                                                                                   Last Name
                                                                                                                Page 57 of 60
                                                                                                                                                       Column A                             Column B
                                                                                                                                                       Debtor 1                             Debtor 2 or
                                                                                                                                                                                            non-filing spouse
     7. Interest, dividends, and royalties                                                                                                                                  $0.00                         $0.00
     8. Unemployment compensation                                                                                                                                           $0.00                         $0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................           ↓
           For you....................................................................................                          $2,672.20
           For your spouse......................................................................                                      $0.00
     9. Pension or retirement income. Do not include any amount received that was a benefit                                                                                 $0.00                         $0.00
        under the Social Security Act.

     10. Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act or payments received as
         a victim of a war crime, a crime against humanity, or international or domestic terrorism.
         If necessary, list other sources on a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                                        +                                         +
                                                                                                                                                                           $0.00                +        $0.00      =           $0.00
     11. Calculate your total average monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                                        Total average
                                                                                                                                                                                                                        monthly income



Part 2: Determine How to Measure Your Deductions from Income


     12. Copy your total average monthly income from line 11. .................................................................................
                                                                                                                                                                                                                                  $0.00

     13. Calculate the marital adjustment. Check one:

   ❑You are not married. Fill in 0 below.
   ❑You are married and your spouse is filing with you. Fill in 0 below.
   ✔You are married and your spouse is not filing with you.
   ❑
      Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
      dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
      Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
      adjustments on a separate page.
      If this adjustment does not apply, enter 0 below.




                                                                                                                                           +

      Total...........................................................................................                                                          $0.00
                                                                                                                                                                               Copy here. →
                                                                                                                                                                                                                -              $0.00

                                                                                                                                                                                                                                 $0.00
     14. Your current monthly income. Subtract the total in line 13 from line 12.


     15. Calculate your current monthly income for the year. Follow these steps:


      15a. Copy line 14 here →...............................................................................................................................................................                                     $0.00

              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                             x 12
                                                                                                                                                                                                                                 $0.00
      15b. The result is your current monthly income for the year for this part of the form.......................................................................



Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                           page 2
Debtor 1
                      Case  18-69795-jwc
                        Richard       E
                                                                             Doc 1              Filed
                                                                                                  Warren
                                                                                                        11/27/18 Entered 11/27/18  09:11:16 Desc Main
                                                                                                                                Case number (if known)
                             First Name                         Middle Name
                                                                                               Document
                                                                                                  Last Name
                                                                                                               Page 58 of 60

      16. Calculate the median family income that applies to you. Follow these steps:

        16a. Fill in the state in which you live.                                                                                   Georgia
        16b. Fill in the number of people in your household.                                                                              2

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                    $61,794.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

      17. How do the lines compare?

        17a.     ✔
                 ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


      18. Copy your total average monthly income from line 11. .............................................................................................................                                     $0.00


      19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating
          the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line
          13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                        -          $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                         $0.00


      20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................               $0.00
           Multiply by 12 (the number of months in a year).                                                                                                                                          x 12
                                                                                                                                                                                                                $0.00
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                            $61,794.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

      21. How do the lines compare?

   ✔
   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.
Part 4: Sign Below



      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


           X /s/ Richard E Warren                                                                                                          X
                  Signature of Debtor 1                                                                                                           Signature of Debtor 2

                 Date             11/27/2018                                                                                                    Date
                               MM/DD/YYYY                                                                                                                    MM/DD/YYYY

      If you checked 17a, do NOT fill out or file Form 122C–2.

      If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                          page 3
       Case 18-69795-jwc                    Doc 1IN THE
                                                     Filed  11/27/18
                                                        UNITED           EnteredCOURT
                                                               STATES BANKRUPTCY   11/27/18 09:11:16                                 Desc Main
                                                    Document         Page
                                                      NORTHERN DISTRICT     59 of 60
                                                                         OF GEORGIA
                                                                     ATLANTA DIVISION

IN RE: Warren, Richard E                                                                     CASE NO

                                                                                             CHAPTER 13




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date        11/27/2018             Signature                                     /s/ Richard E Warren
                                                                               Richard E Warren, Debtor
           Case 18-69795-jwc   Doc 1    Filed 11/27/18 Entered 11/27/18 09:11:16     Desc Main
                                       Document      Page 60 of 60
Associated Credit Union            Bank of America                      BB&T
6789 Peachtree                     4909 Savarese Circle                 Po Box 1847
Atlanta, GA 30360                  Tampa, FL 33634                      Wilson, NC 27894




BB&T                               Chase Card Services                  Comenity Bank/Blair
Credit Card Disputes               Po Box 15298                         Po Box 182120
Wilson, NC 27894                   Wilmington, DE 19850                 Columbus, OH 43218




Georgia Department of              Internal Revenue Service             Medical Data Systems (MDS)
Revenue                            Centralized Insolvency Operation     128 W Center Ave Fl 2
Compliance Division                Po Box 7346                          Sebring, FL 33870
ARCS - Bankruptcy                  Philadelphia, PA 19101-7346
1800 Century Blvd Ne # 9100
Atlanta, GA 30345-3202


Metro Atlanta Ambulance            Mr. Cooper                           N Georgia Kidney Specialists
PO Box 4130                        8950 Cypress Waters Blvd             880 Canton Road #400
Marietta, GA 30065                 Coppell, TX 75019                    Marietta, GA 30060




Srvfinco                           Synchrony Bank/Chevron               Synchrony Bank/Lowes
555 S Federal Hwy Ste 20           P.o Box 965015                       Po Box 956005
Boca Raton, FL 33432               Orlando, FL 32896                    Orlando, FL 32896




US Renal Care                      Vascular Surgical Associates         Visa Dept Store National
505 Roswell Street #100            61 Whitcher Street Suite 2100        Bank/Macy's
Marietta, GA 30060                 Marietta, GA 30060                   Po Box 8218
                                                                        Mason, OH 45040



Richard E Warren                       WellStar Health System
345 Baskin Drive SW                    PO Box 742625
Marietta, GA 30064                     Atlanta, GA 30374
